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Plaintiff based on the factual allegations in the Complaint and have already received notice of

this filing1. Defendants will have an uninhibited opportunity to litigate this matter regardless of

whether plaintiff's identity is disclosed publicly.

           Second, granting anonymity for plaintiff will not be detrimental to public interest in any

way. Rather, the public interest is better served by adjudicating claims arising from sexual abuse

by protecting the identity and confidential information of the sexual assault victim, and to

prevent unnecessary ridicule from the public or potential retaliation from Defendant's institution.

           Third, although Defendant#2 is also a Title IX participant just like this plaintiff and John

Roe, his act of defaming others is not highly sensitive or personal, but the substance of those

defamatory statements involving plaintiff and John Roe is. Therefore, plaintiff and John Roe

should remain anonymous, only Defendant#2 needs to be named public. The public's interest in

knowing Defendant# 2’s identity outweighs his privacy interest.

                                                 ARGUMENT

           Although Federal Rule of Civil Procedure 10(a) provides that the "title of the complaint

must name all the parties," courts have "carved out a limited number of exceptions to the general

requirement of disclosure [of the names of parties], which permit plaintiffs to proceed

anonymously." Sealed Plaintiff v. Sealed Defendant, 537 F.3d 185, 189 (2d Cir.2008) Whether a

plaintiff may prosecute an action anonymously through a pseudonym is determined at the

discretion of the court after weighing the "plaintiff's interest in anonymity... against both the

public interest in disclosure and any prejudice to the defendant." Grottano v. City of New York,

No.15 Civ.9242-RMB-KNF, 2016 WL 2604803 at *1 (S.D.N.Y. Mar. 30, 2016). The Second

Circuit has set forth a list of ten non-exhaustive factors that courts may consider in determining


1
    See Doe v. The Trustee of Columbia University, No.21-cv-5839-ER (S.D.N.Y), Doc.100 at 2 footnote.


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whether to permit a plaintiff to proceed pseudonymously:

       (1) whether the litigation involves matters that are highly sensitive

       and of a personal nature;

       (2) whether identification poses a risk of retaliatory physical or

       mental harm to the party seeking to proceed anonymously or even

       more critically, to innocent non-parties;

       (3) whether identification presents other harms and the likely

       severity of those harms;

       (4) whether the plaintiff is particularly vulnerable to the possible

       harms of disclosure, particularly in light of the plaintiff's age;

       (5) whether the suit is challenging the actions of the government or

       that of private parties;

       (6) whether the defendant is prejudiced by allowing the plaintiff to

       press his claims anonymously, whether the nature of that prejudice

       (if any) differs at any particular stage of the litigation, and whether

       any prejudice can be mitigated;

       (7) whether the plaintiff's identity has thus far been kept

       confidential;

       (8) whether the public's interest in the litigation is furthered by

       requiring the plaintiff to disclose his identity;

       (9) whether, due to the purely legal nature of the issues presented

       or otherwise, there is an atypically weak public interest in knowing

       the litigants' identities; and




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       (10) whether there are any alternative mechanisms for protecting

       the confidentiality of the plaintiff.

Sealed Plaintiff, 537 F.3d at 190. These factors ultimately guide the court to decide whether a

plaintiff maybe proceed with a pseudonym by balancing "the plaintiff's interest in

anonymity...against both the public interest in disclosure and any prejudice to the defendant." Id

at 189. The present case falls under several of these factors, but most clearly this case involved

"matters that are highly sensitive and of a personal nature." Id at 190.

       As federal court recognized in Doe v. Colgate University, "protecting the anonymity of

sexual assault victims and those accused of committing sexual assault can be an important

safeguard to ensure that the due process rights of all parties are protected." Doe v. Colgate Univ.,

2016 WL 1448829, at *2 (N.D.N.Y. Apr. 12, 2016). Moreover, mindful of the chilling effect that

forcing similarly situated students to reveal their identity in order to bring suit could have on

future plaintiffs face similar situations, the Court allowed the plaintiff in Doe v. Colgate

University to proceed anonymously because "forcing Plaintiff to reveal his identity would not

advance any aspect of the litigation, but instead poses a risk that the Plaintiff [as a sexual assault

victim] would be subject to unnecessary ridicule and attention." Id. at *3.

       The court must balance the presumption of access against counter veiling factors such as

judicial efficiency and "the privacy interests of those resisting disclosure." Lugosch v. Pyramid

County. of Onondaga, 435 F.3d 110 (2d Cir. 2006) After documents have been declared to be

judicial documents, a presumption of access attaches. See id.; see also Caswell v. Miller, No.

9:17-CV-1384, 2018 WL 2170294, at *2 (N.D.N. Y. May 10, 2018). A court must then assess

the weight of that presumption by evaluating "the role of the material at issue in the exercise of

Article Ill judicial power and resultant value of such information to those monitoring the federal




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courts." Lugosch, 435 F.3d at 119 (internal citation omitted). Finally, a court will consider

countervailing factors such as "the privacy interests of those resisting disclosure." Id. at 120.

Ultimately, "documents may be sealed if specific, on the record findings are made demonstrating

that closure is essential to preserve higher values and is narrowly tailored to serve that interest."

In re New York Times Co., 828 F.2d 110, 116 (2d Cir. 1987).

                                           CONCLUSION

        There is no a public interest in the disclosure of plaintiff’s identity, therefore plaintiff

respectfully requests that the Court permit her to proceed by means of the pseudonym reflected

in the caption of this motion for the rest of this litigation.


Dated: February 5, 2025
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